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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 10-cr-00470-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 GERALD SANDOVAL,

        Defendant.


      GOVERNMENT’S MOTION TO RESTRICT DOCKET NOS. 156 AND 157
 ______________________________________________________________________

        The United States of America, by and through United States Attorney Cole

 Finegan, and the undersigned Assistant United States Attorney, respectfully moves to

 restrict documents, any order revealing the contents of those documents, and the brief

 filed in support of this motion, for the reasons stated in the brief filed in support of this

 motion.   The United States requests a “Level 2" Restriction which would make the

 documents and attachments, any order revealing the contents of those documents and

 the brief filed in support of this motion, “Viewable by Selected Parties & Court” only.




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      Respectfully submitted this 13th day of December, 2023.

                                             COLE FINEGAN
                                             United States Attorney

                                             By: s/ Rebecca S. Weber
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                                CERTIFICATE OF SERVICE


          I hereby certify that on this 13th day of December, 2023, I electronically filed the
 foregoing GOVERNMENT’S MOTION TO RESTRICT DOCKET NOS. 156 AND 157
 with the Clerk of the Court using the CM/ECF system which will send notification of such
 filing to all counsel of record in this case.


                                           s/ Michelle Trujillo
                                           Supervisory Legal Assistant
                                           U.S. Attorney’s Office




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